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               IN THE UNITED STATES BANKRUPTCY COURT
                 FOR THE SOUTHERN DISTRICT OF TEXAS
                          HOUSTON DIVISION


IN RE:                             §   CHAPTER 11
                                   §
LILIS ENERGY, et al,               §   CASE NUMBER 20-33274(MI)
                                   §
           Debtors,                §


   TILDEN CAPITAL MINERALS, LLC’S MOTION TO ALLOW LATE FILED
      AMENDED SECURED CLAIM TO BE TREATED AS TIMELY FILED


    A HEARING WILL BE CONDUCTED ON THIS MATTER ON JUNE 10,
    2021 AT 9:00 AM PREVAILING CENTRAL TIME IN COURTROOM 404,
    4TH FLOOR, 515 RUSK STREET, HOUSTON, TEXAS 77002. IF YOU
    OBJECT TO THE RELIEF REQUESTED, YOU MUST RESPOND IN
    WRITING, SPECIFICALLY ANSWERING EACH PARAGRAPH OF THIS
    PLEADING. UNLESS OTHERWISE DIRECTED BY THE COURT, YOU
    MUST FILE YOUR RESPONSE WITH THE CLERK OF THE
    BANKRUPTCY COURT WITHIN TWENTY-ONE DAYS FROM THE
    DATE YOU WERE SERVED WITH THIS PLEADING. YOU MUST SERVE
    A COPY OF YOUR RESPONSE ON THE PERSON WHO SENT YOU THE
    NOTICE; OTHERWISE, THE COURT MAY TREAT THE PLEADING AS
    UNOPPOSED AND GRANT THE RELIEF REQUESTED.

    REPRESENTED        PARTIES   SHOULD   ACT    THROUGH      THEIR
    ATTORNEY.

    PLEASE NOTE THAT ON MARCH 24, 2020, THROUGH ENTRY OF
    GENERAL ORDER 2020-10, THE COURT INVOKED THE PROTOCOL
    FOR EMERGENCY PUBLIC HEALTH OR SAFETY CONDITIONS
    (GENERAL ORDER 2020-4).

    IT IS ANTICIPATED THAT ALL PERSONS WILL APPEAR
    TELEPHONICALLY AND ALSO MAY APPEAR VIA VIDEO AT THIS
    HEARING. AUDIO COMMUNICATION WILL BE BY USE OF THE
    COURT’S REGULAR DIAL-IN NUMBER. THE DIAL-IN NUMBER IS +1
    (832) 917-1510. YOU WILL BE ASKED TO KEY IN THE CONFERENCE
    ROOM NUMBER. JUDGE ISGUR’S CONFERENCE ROOM NUMBER IS
    954554. FURTHER INFORMATION REGARDING TELEPHONE AND
    VIDEO APPEARANCES AT THIS HEARING IS AVAILABLE IN
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       GENERAL ORDER 2020-4, WHICH CAN BE FOUND ON THE COURT’S
       WEBSITE AT: http://www.txs.uscourts.gov/bankruptcy/genord.

       HEARING APPEARANCES SHOULD BE MADE ELECTRONICALLY
       AND IN ADVANCE OF THE HEARING. YOU MAY MAKE YOUR
       ELECTRONIC                APPEARANCE               BY           VISITING
       https://www.txs.uscourts.gov/page/united-states-bankruptcy-judge-marvin-
       isgur-electronic-appearance-links, SELECTING LILIS ENERGY FROM
       THE LIST OF ELECTRONIC APPEARANCE LINKS, COMPLETING
       THE REQUIRED FIELDS, AND HITTING THE “SUBMIT” BUTTON AT
       THE BOTTOM OF THE PAGE. SUBMITTING YOUR APPEARANCE
       ELECTRONICALLY IN ADVANCE OF THE HEARING WILL NEGATE
       THE NEED TO MAKE AN APPEARANCE ON THE RECORD AT THE
       HEARING.

       REPRESENTED            PARTIES       SHOULD         ACT      THROUGH    THEIR
       ATTORNEY.

       Tilden Capital Minerals, LLC (“Tilden” or “Movant”), by and through the undersigned

counsel, hereby files its Motion to Allow Late Filed Amended Secured Proof of Claim as Timely

Filed, and would state as follows:

                                         BACKGROUND

       1.      On June 28, 2020 (the “Petition Date”), Lilis Energy, Impetro Operating LLC, and

their affiliated debtors filed their Chapter 11 bankruptcy cases.

       2.      Tilden is a Fort Worth based company with its corporate headquarters located at

3100 W. 7th Street, Suite 240, Fort Worth, Texas 76107. Tilden is a mineral interest owner in

certain Leases and Wells owned and/or operated by Debtors (the “Mineral Interest”). A true and

correct copy of the Mineral Deeds evidencing its ownership in the Leases and Wells owned and/or

operated by Debtors is attached hereto as Exhibit A. The pre-petition royalty amount due and

owing to Tilden is $49,491.86. The amount due and owing to Tilden is secured by a contractual

lien derived from the Joint Operating Agreement.
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       3.      As part of their bankruptcy cases, the Debtors requested to shorten standard the

deadlines for creditors to file proofs of claims. Based upon the requests and representations of the

Debtors, the Court entered an order establishing August 12, 2020 as the deadline for non-

governmental entities to file proofs of claim (the “Bar Date Deadline”).

       4.      On September 23, 2020, Debtors filed their amended schedules. Pursuant to the

amendment Tilden received notice that it’s claim was reclassified as a general unsecured claim

and notified to file its proof of claim or alternatively, accept the treatment as a general unsecured

creditor as provided in the Amended Schedules.

       5.      Absent the debtor scheduling a claim as disputed, contingent or unliquidated, a

creditor need not file a proof of claim. 11 U.S.C. §1111(a). Generally, a secured creditor need not

file a proof of claim to recover against its secured property.

       6.      On or around October 28, 2020, in an attempt to assert its claim as secured, Tilden

filed its Proof of Claim (“POC”) (Claim No. 406). A true and correct copy of the POC is attached

hereto as Exhibit B. Subsequently, after making multiple inquiries regarding the status of payment

on its secured claim to no avail, Tilden retained the undersigned counsel to assist in resolving the

issues it had encountered in receiving its pre-petition interest payment. Upon review of Tilden’s

claim it was discovered that Tilden, not having knowledge of the bankruptcy laws or rules had

made an error in completing the POC which resulted in Tilden being listed as a general unsecured

creditor, which is contradictory to the purpose of filing the POC.

       7.      On May 6, 2021, Tilden filed its Amended Proof of Claim (“Amended Claim”)

asserting its claim as secured. A true and correct copy of the Amended Claim is attached hereto as

Exhibit C.
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                                     REQUESTED RELIEF

       8.      Federal Rule of Bankruptcy Procedures 9006(b) allows the Bar Date to be extended

where the failure to timely act “was the result of excusable neglect.” Tilden requests that the Court

grant an extension of the Bar Date Deadline due to the intervening circumstances and other factors

that support the “excusable neglect” standard. In this case, the prejudice to the Debtor is negligible

as the claim was known to the Debtors, is scheduled as undisputed and noncontingent, and is a

relatively small claim. The reason for the delay in amending the filing is primarily caused by Tilden

being unaware of it’s error in completing the POC. Tilden has acted in good faith and the cause

for the delay was not reasonably in control of Tilden.

       9.      Tilden is entitled to secured status in this proceeding because of the First Purchaser

Statute. Tex. Bus. & Com. Code § 9.343. By way of its ownership of the Mineral Interest, Tilden’s

security interest is perfected automatically without the filing of a financing statement. Tex. Bus.

& Com. Code § 9.343(b). Furthermore, Tilden’s security interest to secure payment against the

first purchaser of hydrocarbons is in the amount equal to its proportionate share of production,

which is the amount it seeks in its Amended Claim. Tilden’s Mineral Interest and status as a

secured party is evidenced by a deed, mineral deed, reservation in either, oil or gas lease,

assignment, or any other such record recorded in the real property records of a county clerk, that

record is effective as a filed financing statement for purposes of chapter 9 of the Texas Business

and Commerce Code. Id.

       10.     Accordingly, Tilden requests an order from the Court allowing the Amended Claim

filed by Tilden, as a timely filed secured proof of claim.

       WHEREFORE, Tilden requests an order from the Court allowing the Amended Proof of

Claim as timely filed by Tilden.
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Dated: May 6, 2021




                                  Respectfully submitted,

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                                  /s/ J. Hunter Parrish

                                  J. Hunter Parrish
                                  hparrish@dawsonparrish.com
                                  State Bar No. 24070386

                                   Attorney for Movant
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                                CERTIFICATE OF SERVICE
        I certify that on May 6, 2021, I caused a copy of the foregoing document to be served by
the Electronic Case Filing System for the United States Bankruptcy Court for the Southern District
of Texas to the parties listed below at the email addresses listed and all other parties requesting
electronic service.
David Andrew Baay on behalf of Plaintiff ARM Energy Management LLC
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David Andrew Baay on behalf of Plaintiff Salt Creek Midstream LLC davidbaay@eversheds-
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Joseph E Bain on behalf of Creditor Committee Official Committee of Unsecured Creditors of
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kvrana@joneswalker.com;msalinas@joneswalker.com
Nicholas Edmund Baker on behalf of Creditor BMO Harris Bank N.A. nbaker@stblaw.com
Jason Bradley Binford on behalf of Interested Party Railroad Commission of Texas
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Jason Bradley Binford on behalf of Interested Party Texas Comptroller of Public Accounts,
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                                                   s/ J. Hunter Parrish

                                                   J. Hunter Parrish
